        Case 2:19-cv-02850-DMG-JC Document 25 Filed 07/19/19 Page 1 of 1 Page ID #:68
2 AO 121 (6/90)
TO:

                  Register of Copyrights                                                           REPORT ON THE
                  Copyright Office                                                         FILING OR DETERMINATION OF AN
                  Library of Congress                                                             ACTION OR APPEAL
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on the following copyright(s):
                                                                     COURT NAME AND LOCATION
        ✔ ACTION
        G                  G APPEAL                                   United States District Court - Central District
DOCKET NO.                      DATE FILED                            350 W. 1st Street
 CV 19-2850 DMG-JCx                       4/12/2019                   Los Angeles, CA 90012
PLAINTIFF                                                                         DEFENDANT
TEXKHAN, INC.                                                                     EN CREME, et al.




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1 VAu 1-132-665                  HA3126                                                                         TEXKHAN, INC.

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                   INCLUDED BY
                                         G Amendment                 G Answer               G Cross Bill             G Other Pleading
       COPYRIGHT
                                                            TITLE OF WORK                                                AUTHOR OF WORK
    REGISTRATION NO.

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    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                WRITTEN OPINION ATTACHED                                       DATE RENDERED

            G
            ✔ Order        G Judgment                                     G Yes        G
                                                                                       ✔ No                                           7/18/2019

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KIRY K. GRAY                                                 G. Kami                                                                  7/19/2019
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